                           UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF NORTH CAROLINA
                                 EASTERN DIVISION

MOLLY YATES, individually, next-of-kin,            )
personal representative and widow of Bradley       )
Yates                                              )
                      Plaintiff,                   )
                                                   )
v.                                                 )         JUDGMENT
                                                   )
                                                   )         No. 4:18-CV-1-FL
TYREE DAVIS, current chief of the Enfield N.C. )
Police Department, in his individual and official  )
capacity; WILLIE TILLERY, former chief of the )
Enfield, N.C. Police Department, in his individual )
and official capacity; and WILLIE HAMMIEL,         )
officer of the Enfield Police Department in his    )
official and individual capacity,                  )
                        Defendants.                )

Decision by Court.

This action came before the Honorable Louise W. Flanagan, United States District Judge, upon
consideration of the plaintiff’s motion to remand.

IT IS ORDERED, ADJUDGED AND DECREED in accordance with the court’s order entered
March 11, 2019, more particularly described therein, that this case is remanded to the General Court
of Justice, Superior Court Division, Halifax County, North Carolina.

This Judgment Filed and Entered on March 11, 2019, and Copies To:
Abraham Penn Jones / Mark L. Bibbs (Via CM/ECF Electronic Notification)
Scott C. Hart (Via CM/ECF Electronic Notification)
The Clerk of Court of Halifax County (via US mail - Halifax County Courthouse, P O Box 66,
Halifax, NC 27839.)

March 11, 2019                        PETER A. MOORE, JR., CLERK

                                        /s/ Sandra K. Collins
                                      (By) Sandra K. Collins, Deputy Clerk




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